Case 5:03-cr-50033-DEW-MLH          Document 397        Filed 03/11/09     Page 1 of 3 PageID #:
                                          1808



                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                            CRIMINAL NO. 03-cr-50033

 VERSUS                                              JUDGE WALTER

 REGAN GATTI                                         MAGISTRATE JUDGE HORNSBY


                                 MEMO RANDUM ORDER

        The evidentiary hearing set for April 6, 2009 is postponed, with a new date to be

 selected at a Status Conference that will be held in chambers on April 3, 2009 at 2:00 p.m.

 One of the reasons for the postponement is the difficulty of counsel for the Government and

 Mr. Gatti to arrange an interview with Attorney Daryl Gold, who is expected to be a key

 witness at the hearing. Accordingly, Mr. Gold is directed to attend the conference and be

 available for at least one and one-half hours for an interview by counsel relevant to the issues

 remaining in Mr. Gatti’s Section 2255 motion.

        The remaining issues, as outlined in Judge Walter’s ruling (Doc. 371) are: (1) counsel

 alluding to a “bogus theory of defense” during opening statements 1 ; (2) failure to offer expert

 testimony regarding Larry Thompson, Sr.’s overbearing and controlling personality; (3)



        1
          Gatti alleges that his counsel stated during opening statements that the police
 officers who told Gatti to get down then started firing and shot him. Counsel allegedly
 stated that Gatti did shoot back at the police and fled. Gatti alleges in his motion that this
 assertion of self-defense conflicts with the defense theory of duress and that, even after
 his attorney made this opening statement, his attorney advised him to testify that he did
 not shoot at the police officers.
Case 5:03-cr-50033-DEW-MLH          Document 397         Filed 03/11/09    Page 2 of 3 PageID #:
                                          1809



 failure to fully investigate Larry Thompson, Sr.’s reputation for violence and to present

 additional testimony concerning that reputation; and (4) representation of Gatti despite an

 actual conflict of interest. 2 Gatti also asserted a claim that counsel failed to appeal an issue

 regarding the loss amount calculation, but that aspect of the motion has been denied with

 consent. See Doc. 387. More information about the claims can be found in Judge Walter’s

 ruling, the Motion to Vacate (Doc. 318), and the briefs related to the motion. See Docs. 355,

 359, and 360.

        Attorney Gold should be prepared to discuss those claims with counsel at a meeting

 that will be held immediately follow the conference. He should bring with him all notes,

 files, or other materials that are needed for him to respond to questions on those topics. If

 counsel for Mr. Gatti or the Government have any particular questions that Mr. Gold might

 not reasonably anticipate or that would benefit from advance notice, they are encouraged to

 send Mr. Gold a letter and notify him of any such questions. It is the intent of this order

 to ensure that the conference and interview are as productive as possible and lead to the

 setting of a firm hearing date so that this matter may be resolved as promptly as

 possible and w ithout the expense of a formal deposition.




        2
         Gatti argues that his trial counsel had a conflict of interest because his counsel’s
 firm also represented Tung Nguyen, who testified at the trial as a Government witness.

                                           Page 2 of 3
Case 5:03-cr-50033-DEW-MLH     Document 397       Filed 03/11/09   Page 3 of 3 PageID #:
                                     1810



       THUS DONE AND SIGNED in Shreveport, Louisiana, this 11th day of March, 2009.




                                    Page 3 of 3
